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Photos Show Kristi Noem's Visit Through
Notorious El Salvador Prison

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By Gabe Whisnant
Breaking News Editor

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H omeland Security Secretary Kristi Noem visited El Salvador's high-security Terrorism Confinement Center in
Tecoluca on Wednesday, where recently deported Venezuelan migrants accused by the Trump administration
of gang affiliations are being held.

Photos of her visit showed Noem touring crowded cell blocks, the prison armory, and isolation units within the facility,
which has drawn international attention for its harsh conditions. Inmates are shown packed into small cells and are
reportedly denied outdoor time and stripped of any form of visitation or rehabilitation programs.

Prisoners stand looking out from their cell as US Secretary of Homeland Security Kristi Noem speaks while touring the Terrorist Confinement Center, in
Tecoluca, El Salvador, Wednesday, March 26,2025. ASSOCIATED PRESS

Why It Matters

Noem's visit is part of a broader push by the Trump administration to showcase its crackdown on immigration,
particularly against individuals it refers to as the "worst of the worst.”

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In February, El Salvador President Nayib Bukele agreed to accept deportees from the U.S. of any nationality — even
American citizens — offering to hold them in the country's sprawling maximum-security facility known as CECOT, or

the Terrorism Confinement Center.

What to Know

The trip comes amid ongoing legal challenges to the administration's use of the Alien Enemies Act of 1798, which
President Trump invoked to justify the deportation of Venezuelans he claims are members of the Tren de Aragua

gang.

Homeland Security Secretary Kristi Noem tours the Terrorist Confinement Center in Tecoluca, El Salvador, Wednesday, March 26,2025. ASSOCIATED
PRESS

legality of the removals. While the Trump administration insists the migrants are threats to national security, it has yet

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deportees argue they've been imprisoned without due process, and with no clear path to release.

At the prison, Noem recorded a video statement warning, "If an immigrant commits a crime, this is one of the
consequences you could face... You will be removed and you will be prosecuted.”

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A prisoner stands shackled against a wall as Homeland Security Secretary Kristi Noem tours the Terrorist Confinement Center in Tecoluca, El Salvador,
Wednesday, March 26,2025. ASSOCIATED PRESS

She emphasized the administration's intent to expand deportation efforts in partnership with El Salvador, with
Homeland Security stating she would discuss increasing deportation flights with Salvadoran President Nayib Bukele.
The prison, opened in 2023 as part of Bukele's crackdown on gangs, can house up to 40,000 inmates and is notorious
for its lack of legal protections. The deportees, who no longer appear in ICE's online system and have not seen a judge
in El Salvador, are effectively in legal limbo.

El Salvador has had no diplomatic relations with Venezuela since 2019, leaving the prisoners without consular
support. A video released by Salvadoran authorities showed the men shackled, shaved and dressed in white prison
uniforms before being confined.

toured the CECOT, El Salvador’s Terrorism Confinement
Center.

President Trump and | have a clear message to criminal
illegal aliens: LEAVE NOW.

If you do not leave, we will hunt you down, arrest you, and you
could end up in this El Salvadorian prison.
pic.twitter.com/OltDqNsFxM

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What People Are Saying

Noem posted Wednesday on X, formerly Twitter: "| toured the CECOT, El Salvador's Terrorism Confinement
Center.President Trump and | have a clear message to criminal illegal aliens: LEAVE NOW. If you do not leave, we will
hunt you down, arrest you, and you could end up in this El Salvadorian prison.”

U.S. Secretary of State Marco Rubio at a recent press conference in San Salvador: "Any unlawful immigrant, illegal
immigrant in the United States who's a dangerous criminal — MS-13, Tren de Aragua, whatever it may be — he [El
Salvador President Nayib Bukelehas] offered his jails so we can send them here and he will put them in his jails".

Bukele in a post on X (formerly Twitter): "We are willing to take in only convicted criminals (including convicted U.S.
citizens) into our mega-prison (CECOT) in exchange for a fee. The fee would be relatively low for the U.S. but
significant for us, making our entire prison system sustainable."

Manuel Flores, secretary general of El Salvador leftist opposition party Farabundo Marti National Liberation Front,
has criticized the plan: "We also have many violent criminals in our country, however, that did not necessarily come
here illegally but have been arrested 30 times, 35 times, 41, 42 times ... for murder [and] other heinous charges. | don't
want these violent repeat offenders in our country any more than | want illegal aliens from other countries in."

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Shackled prisoners stand against a wall as US Homeland Security Secretary Kristi Noem tours the Terrorist Confinement Center (CECOT) in Tecoluca, El
Salvador, March 26,2025. AFP/GETTY IMAGES

What Happens Next

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